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AO 458 (Rev. 06/09) Appearance of Counsel

UNITED STATES DISTRICT COURT

for the
Southern District of Ohio g

 

 

London Computer Svstems, |nc. )
Plaintiff )
v. ) Case No. 1:18-cv-696
Zi||ow, |nc. )
Defendant )
APPEARANCE OF COUNSEL

To: The clerk of court and all parties of record

l am admitted or otherwise authorized to practice in this court, and l appear in this case as counsel for:

Zi||ow, |nc.

/`
Datef M

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CERTIFICATE OF SERVICE
I certify that on October 4, 201 8, l electronically filed the foregoing document using the
Court’s CM/ECF system. Electronic notification Will be sent to all attorneys of record by
operation of the Court’s electronic filing system.

/s/ Thomas F. Hankinson

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